

Smalls v Kirby (2025 NY Slip Op 50766(U))



[*1]


Smalls v Kirby


2025 NY Slip Op 50766(U)


Decided on May 15, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on May 15, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, James, JJ.



570216/25

Henry P. Smalls, Plaintiff-Appellant,
againstJ. Scott Kirby, Defendant-Respondent.




Plaintiff appeals from a judgment of the Civil Court of the City of New York, Bronx County (Verena C. Powell, J.), entered on December 4, 2023, after an inquest, in favor of defendant dismissing the action.




Per Curiam.
Judgment (Verena C. Powell, J.), entered on or about December 4, 2023, affirmed, without costs.
We sustain the dismissal of this action, albeit for reasons different than those stated by Civil Court. The underlying action, based upon allegations that plaintiff were wrongfully bumped from a United Airlines flight, is properly dismissed on the ground that the sole defendant, J. Scott Kirby, sued in an individual capacity, is not a proper party defendant to this action (see Anderson v Woods, 136 NY Supp 2d 721 [App Term, 1st Dept 1954]). Plaintiff's remedies, if any, are more properly sought against nonparty United Airlines.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: May 15, 2025







